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14                                     UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15                                                      )
16       JENNY LISETTE FLORES, et al.,           ) Case No. CV 85-4544 DMG (AGRx) 
                                                 )
17                    Plaintiffs,                ) PLAINTIFFS’ CORRECTED
18                                               ) MEMORANDUM RE STATUS
               - vs -                            ) CONFERENCE AND RESPONSE TO
19                                               ) THIRD GOVERNMENT MONITORS’
20       JEFFERSON B. SESSIONS, ATTORNEY         ) REPORTS [REDACTED VERSION
         GENERAL OF THE UNITED STATES, et al., ) OF DOCUMENT PROPOSED TO
21                                               ) BE FILED UNDER SEAL]
22                    Defendants.                )
                                            _ )           [HON. DOLLY M. GEE]
23                                                      )
24                                                      ) Hearing: July 27, 2018
                                                          Time: 10 AM
25

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27

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 1     I.    INTRODUCTION
 2           Recent events have shown that Defendants have mounted a full-scale assault
 3
       on the 1997 Flores settlement (“Agreement”). Even before their baseless Ex Parte
 4
 5     Application For Limited Relief From Settlement Agreement (“Ex Parte

 6     Application”) [Dkt. #435], to dismantle the Agreement for accompanied minors
 7
       was denied by this Court (“July 9, 2018 Order”) [Dkt. #455], Defendants stated in
 8
 9     Defendants’ Notice of Compliance filed June 29, 2018 (“Notice of Compliance”)

 10    [Dkt. #447], that “the Government will … detain families together during the
 11
       pendency of immigration proceedings when they are apprehended at or between
 12
 13    ports of entry.” Id. at 1 (emphasis supplied).1 Defendants repeat that regardless of

 14    this Court’s ruling on their Ex Parte application to eliminate the Agreement’s
 15
       release and licensing provisions for accompanied class members, class member
 16
 17
 18
       1 To justify this position, Defendants repeat their argument, long ago rejected by
 19
       this Court and the Court of Appeals, that detention, which Congress has made
 20    mandatory in “many circumstances” under 8 U.S.C. § 1225(b) requires the
       detention of class members regardless of their right to release under Paragraph 14.
 21
       Notice of Compliance [Dkt. #447] at 2. This Court and the Court of Appeals have
 22    repeatedly rejected this argument. Flores v. Johnson, 212 F. Supp. 3d 864 (C.D.
       Cal. 2015) (“July 24, 2015 Order”) [Dkt. #177] at 10-11]; Order re Plaintiffs’
 23
       Motion to Enforce and Appoint a Special Monitor (“June 27, 2017 Order”) [Dkt. #
 24    363] at 20-21; Flores v. Lynch, 828 F.3d 898, 901 (9th Cir. 2016). Consistent with
       the Agreement and this Court’s July 24, 2015 and June 27, 2017 Orders, the
 25
       court’s order in Ms. L v. U.S. Immigration and Customs Enforcement, No. 18-428
 26    (S.D. Cal. June 26, 2018) (attached as exhibit to Dkt.#447), provides that separated
       parents must be reunited with their children in DHS custody but that a child would
 27
       be released if Defendants choose to release a parent or if a parent consents to the
 28    child’s release option under Paragraph 14 of the Agreement. Ms. L. Order at 23.


       PLAINTIFFS’ RESPONSE TO THIRD          1
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 1     children now will “not be separated from their parents [i.e. will be detained] where
 2
       it is determined that continued detention is appropriate for the parent.” Notice of
 3
 4     Compliance at 4.2

 5     This position is consistent with President Trump’s direction that once he reunites
 6
       separated class members with their parents, they will be detained throughout the
 7
 8     pendency of criminal proceedings for improper entry or any immigration

 9     proceedings. See Affording Congress an Opportunity to Address Family
 10
       Separation, Exec. Order No. 13841, 83 Fed. Reg. 29435, 29435 (June 20, 2018)
 11
 12    [hereinafter Exec. Order No. 13841] (Defendants will “maintain custody of alien

 13    families during the pendency of any criminal improper entry or immigration
 14
       proceedings involving their members”).
 15
 16          . Defendants’ “monitoring” reports ignore Defendants’ wholesale breach of
 17    the Agreement as it pertains to unaccompanied minors.
 18
 19
 20
       2 Defendants’ Notice of Compliance defended Defendants’ position by quoting
 21
       this Court’s Order of June 26, 2018 [Dkt. #83]: “[F]or ‘children placed in federal
 22    custody, there are two options,’ the first option is separating the family and placing
       the child alone in ORR custody and ‘the second option is family detention’.” Order
 23
       at 7. Defendants incredibly persist in their breach of the Agreement by refusing to
 24    accept that the “option” is the option of the class member or her or his mother, it is
       not Defendants’ option. No one remotely familiar with the English language can
 25
       read the plain language of Paragraphs 14 and 18 to mean the Defendants have the
 26    “option” to grant or withhold the protections of those paragraphs. This Court has
       now made this clear twice, and its understanding of the Agreement with regards
 27
       the rights of accompanied minors was fully affirmed by the Court of Appeals.
 28    [Dkt. # 365].


       PLAINTIFFS’ RESPONSE TO THIRD           2
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 1           At the scheduled status conference, the Court has stated it will “assess
 2
       whether Defendants are in substantial compliance with the Flores Agreement … If
 3
 4     the Court is not satisfied with the progress made within that time frame, it will

 5     reconsider Plaintiffs’ renewed request for appointment of an independent
 6
       monitor.” June 27, 2017 Order [Dkt. # 363] at 33.
 7
 8           Defendants’ own recent ill-advised briefing to this Court and the evidence

 9     filed herewith shows that Defendants remain in material breach of the Agreement
 10
       in numerous ways. While grounds exist for this Court to hold Defendants in civil
 11
 12    contempt, Plaintiffs conclude that doing so will not accomplish compliance in the

 13    real world.
 14
             Class counsel is now certain that there are only two ways to accomplish
 15
 16    substantial compliance with the Agreement:
 17          (1) Appointment of a qualified and impartial Special Monitor as proposed in
 18
       Plaintiffs’ Notice of Motion and Motion to Enforce Settlement and Appoint a
 19
 20    Special Monitor (“Motion”) [Dkt. #201] at 22-24, and Plaintiffs’ Proposed Order
 21    Appointing a Special Monitor [Dkt. #201-8]; and
 22
             (2) To require Defendants to follow a simple step-by-step protocol to fully,
 23
 24    fairly, and timely advise class members and their accompanying parents about
 25    class members’ rights under the Agreement, and, unless the minor is a flight risk or
 26
 27
 28


       PLAINTIFFS’ RESPONSE TO THIRD           3
       PLAINTIFFS’ STATUS CONFERENCE SUBMISSION                   CV 85-4544-DMG (AGRX)
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 1     danger, or the class members’ parent does not wish to have her child released, to
 2
       take and record prompt steps to release the class member under Paragraph 14.3
 3
 4     II.   THIS A COURT SHOULD NOW APPOINT A SPECIAL MONITOR TO
             OVERSEE AND MONITOR DEFENDANTS’ COMPLIANCE
 5
 6           Defendants’ unsafe treatment of children continues unabated. Rather than

 7     signaling a willingness to end their breach of the Agreement, Defendants have
 8
       doubled down on their breach seemingly for no other reason than that’s what the
 9
 10    President wants.4

 11          As Plaintiffs pointed out in their Motion to Enforce, the Supreme Court has
 12
       noted that “[c]ourts faced with the sensitive task of remedying … unconstitutional
 13
 14    prison conditions must consider a range of available options, including

 15    appointment of special masters or receivers …” Brown v. Plata, 563 U.S. 493, 511,
 16
       131 S.Ct. 1910 (2011). Courts appointing monitors rely on their equitable powers
 17
 18
       3 Exhibit 2 to the Agreement sets out instructions to Defendants’ officers regarding
 19
       the “processing, treatment, and placement of minors.” Assuming that Defendants
 20    would in good faith implement the release provisions of the Agreement,
       particularly Paragraph 14, the Plaintiffs did not insist on a more detailed exhibit
 21
       describing the steps Defendants would take to fully implement the Agreement’s
 22    release provisions. Now is the time to adopt such a protocol that simply describes
       how the release provisions must be implemented to end Defendants’ ongoing
 23
       breach of these provisions.
 24    4 Initially, Defendants’ non-compliance, “[was] confirmed by the approximately
       60 class member and mothers who Plaintiffs interviewed as part of their
 25
       monitoring efforts in December 2017.” Plaintiffs' Response to First Juvenile
 26    Coordinators Report [Dkt. # 391] at 2. Defendants’ ongoing non-compliance is
       confirmed by the approximately 200 class members and mothers Plaintiffs
 27
       interviewed in June –July 2018. Virtually all declarants provided sworn statements
 28    confirming Defendants’ material and consistent non-compliance.


       PLAINTIFFS’ RESPONSE TO THIRD          4
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 1     to enforce settlements, decrees and Orders, or Fed. R. Civ. P. 53.5
 2
             Because of the Defendants’ intentional and persistent violation of the
 3
 4     Agreement as discussed in detail below, and the importance of compliance to the

 5     class of vulnerable children, pursuant to Fed. R. Civ. P. 53 and this Court’s
 6
       inherent powers to enforce its Orders, the Court should now appointment a
 7
 8     Special Monitor to ensure compliance with the Agreement and this Court’s Orders

 9     that have largely gone ignored by Defendants.
 10
             In an Order lodged with their Motion to Enforce [Dkt. # 201-8], Plaintiffs
 11
 12    proposed a detailed Order regarding appointment of a Special Monitor including

 13    the following proposals:
 14
          • Appointment of a Special Monitor for twenty-four months to oversee
 15       compliance with the Settlement and this Court’s several Orders. The Special
 16       Master should have broad discretion regarding how to exercise her authority.
          Her authority should be subject to oversight by the Court.
 17
 18       • The Special Monitor should have the authority to gather information and
          documentation from all parties in furtherance of her monitoring function.
 19
 20       • The Monitor should have the authority to receive from class members or their
          detained mothers or representatives communications regarding alleged
 21       violations of the Agreement and this Court’s Orders and to investigate those
 22       claims, obtain Defendants’ and class counsels’ views, and recommend
          remedial action. The Special Monitor will advise all parties and the Court if her
 23       recommended remedial steps are not implemented.
 24
          • The Special Monitor should have the authority to mediate Plaintiffs’ claims
 25
 26    5 In Franco-Gonzalez v. Holder, Docket No. CV-10-02211-DMG (DTBx) (C.D.
       Calif. 2015), this Court entered an Order appointing a monitor to oversee the DHS.
 27
       Franco-Gonzalez involves a class of immigration detainees who have been
 28    determined to be incompetent to represent themselves by reason of mental
       disability.

       PLAINTIFFS’ RESPONSE TO THIRD          5
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 1            of non-compliance to reduce entanglement of the Court in future motions to
 2            enforce the Agreement.

 3            • The Special Monitor should not have the authority to issue orders or impose
 4            any sanctions, but may recommend to the Court various orders, including any
              contempt sanction.
 5
 6            • The Special Monitor’s fees, costs and expenses, including with respect to the
              assistance of other experts or specialists, should be paid by Defendants.
 7
 8               This litigation’s history underscores that the mandated rights of vulnerable

 9     children will go unprotected unless the Government’s behavior is monitored.6
 10
       III.      DEFENDANTS’ MATERIAL BREACHES NOT DISCLOSED BY THEIR
 11              MONITORS
 12
              1. Defendants have no contracts with licensed programs to place
 13              accompanied minors pursuant to the Agreement, Paragraph 14E, nor
 14              do Defendants promptly place minors in licensed programs under
                 Paragraphs 19 and 12A.
 15
 16              When asked in his deposition whether ICE has any contracts with any
 17    unsecure licensed programs to place accompanied minors (other than the secure
 18
       family detention centers), Deputy Executive Associate Director for Enforcement
 19
 20    and Removal Operations, Phillip Miller, responded: “Not placement locations.”7
 21
 22    6 See, e.g. Melendres v. Arpaio, 784 F.3d 1254 (9th Cir. 2015), cert. denied sub
       nom. Maricopa Cty., Ariz. v. Melendres, 136 S. Ct. 799, 193 L. Ed. 2d 711 (2016)
 23
       (injunctive relief to class of Latino persons against sheriff based on allegations of
 24    racial profiling; Court of Appeals affirmed: “In context, most of the provisions
       dealing with the scope of the Monitor’s assessment authority are aimed at
 25
       eliminating the constitutional violations found by the district court and therefore do
 26    not constitute an abuse of discretion”); Plata v. Schwarzenegger, 603 F.3d 1088,
       1095 (9th Cir. 2010) (monitor to oversee remedies re California prison
 27
       overcrowding);.
 28    7 Ex. 9, Miller Dep. 60-1:16-25,1-9 [Dkt. #287].


       PLAINTIFFS’ RESPONSE TO THIRD             6
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 1     Asked “[a]re you aware of -- of any licensed program, other than your family
 2
       detention centers, your three family detention centers, that ICE has contracted with
 3
 4     for the placement of minors [under Paragraph 19 of the Settlement] who for one

 5     reason or another placement with an individual [under Paragraph 14] is not
 6
       available or appropriate,” Deputy Executive Associate Director Miller answered
 7
 8     “No.” Ex. 9, Deposition of Phillip Miller 61-2:18-25, 1-2 [Dkt. #287].8

 9           Defendants should be ordered to provide class members and the parents of
 10
       accompanied class members a list of licensed group homes that class members
 11
 12    may be transferred to under Paragraph 8 of the Agreement.9

 13    2.    Defendants have not provided Class Counsel with copies of a “written
 14          plan describing the reasonable efforts that [Defendants] will take to
             place all minors as expeditiously as possible” during periods of influx as
 15          required by Paragraph 12C.
 16
             Defendants routinely cite a surge of accompanied and uaccompanied
 17
 18    minors as the reason they refuse or are unable to abide by the Agreement.10
 19
 20    8 Manuel Padilla, Jr., Chief Patrol Agent for the Rio Grande Valley Sector,
       testified that he was “not aware of any program that Border Patrol works with”
 21
       when asked if he knew of any licensed program for accompanied minors to be
 22    placed temporarily if they were not eligible for release from custody under
       Paragraph 14 of the Settlement. Ex. 2, Deposition of Manuel Padilla, Jr.[Dkt. #
 23
       287-1] 20:13-20:25.
 24    9 Class counsel have prepared such a list (see Exhibit 2 filed herewith) and are
       prepared to work with Defendants to insure that a national list of licensed group
 25
       homes is prepared for distribution to class members (and their detained parents)
 26    when they are provided the Flores advisals and other documents required by
       Agreement.
 27
       10 See, e.g., discussion in Plaintiffs’ Oppoosition to Defendants’ Ex Parte
 28    Application for Limited Relief from Flores Settlement [Dkt. # 450] at 9-13. See


       PLAINTIFFS’ RESPONSE TO THIRD          7
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 1     While the United States has seen several temporary influxes of accompanied
 2
       and unaccompanied minors over the past few years, the Agreement requires
 3
 4     a written plan shared with class counsel setting forth how Defendants will

 5     respond to an influx.11
 6
               In violation of the Agreement, no such plan has been provided to class
 7
 8     counsel. Unforetunately, receent chaotic events indicate no real plan may

 9     exist. Defendants should be ordered to provide class counsel with their
 10
       emergency plans now in effect describing the reasonable efforts Defendants
 11
 12    are taking “to place all minors as expeditiously as possible.” Agreement,

 13    ¶12C.
 14
       3.      Defendants do not have procedures in place to obtain Affidavits of
 15            Support for those willing to accept custody of a minor as required by
 16            Paragraph 15 or to conduct suitability assessments of those willing to
               accept custody of a minor as required by Paragraph 17 of the
 17            Agreement.
 18
               Evidence submitted with the Motion to Enforce [Dkt. # 201, 202] and
 19
 20    described in Plaintiffs’ Statement of Uncontroverted Facts (“Pl. Supp.”)
 21    [Doc. # 287]; (“Plaintiff’s SUF”) [Doc. # 314], make clear that Defendants
 22
 23
 24    also Ex. 1, Decl. of Thomas Homan, ¶ 10 [Dkt. # 184-1]. “Q: And do you
       understand why in 2014 the decision was made to start detaining mothers and
 25
       children? THE WITNESS: In response to the surge on the southern border, we
 26    were asked to increase our capacity so as to, you know, re-establish a secure
       border.” Ex. 226, Supplemental Miller Dep. Excerpts; 19:15-19:24.
 27
       11 “In preparation for an ‘emergency’ or ‘influx,’ as described in Subparagraph B,
 28    the INS shall have a written plan that describes the reasonable efforts that it will
       take to place all minors as expeditiously as possible.” Agreement, ¶12C.

       PLAINTIFFS’ RESPONSE TO THIRD           8
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 1     do not have procedures in place to obtain Affidavits of Support for those
 2
       willing to accept custody of a minor as required by Paragraph 15 or to
 3
 4     conduct suitability assessments of those willing to accept custody of a minor

 5     as required by Paragraph 17 of the Agreement. Defendants have offered no
 6
       evidence (such as class members’ agency “A”files) to show that they ever
 7
 8     take steps set out in ¶¶ 15 or 17 of the Agreement to assess the suitability of

 9     placements of class members.
 10
       4.    Defendants do not assess whether individual accompanied class
 11          members pose a substantial flight risk or are a danger but rather claim
 12          the right to detain all accompanied class members until their parents’
             immigration and criminal cases are completed
 13
 14          Defendants do not deny that their practice is not to evaluate on an
 15
       individual basis whether class members pose a “substantial flight risk” (“a
 16
       serious risk that the minor will attempt to escape”) before deciding to detain
 17
 18    accompanied minors before or after denials of credible fear claims.
 19
       Defendants’ policy and practice is to merely detain accompanied minors
 20
       before and after denials of their mothers’ credible fear claims. 12 There is no
 21
 22    training regarding the meaning of escape-risks pursuant to the Ageement,
 23
 24
 25
       12 At least before the issuance of Exec. Order No. 13841, Defendants testified that
 26    “[f]or individuals in the expedited removal process, detention is mandatory [and]
       unless the individual is determined to possess a credible fear remain in the
 27
       expedited removal process and are generally detained until removal.” Dec. of de la
 28    Garza, Ex. 21, ¶ 13 [Dkt. # 216-1].


       PLAINTIFFS’ RESPONSE TO THIRD           9
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 1     and it is generally disregarded.13
 2
             Despite this Court’s ruling,14 Defendants do not assess flight risk or
 3
 4     dangerousness factors as required by the Agreement, but instead will hold

 5     most class members with their parents until the parent’s immigration and
 6
       criminal cases are concluded.
 7
 8     5.    Flores Class Member children are held in unlicensed and secure
             facilities in violation of Paragraphs 6, 12A, and 19
 9
 10          This Court has reiterated that accompanied class members are not to be
 11    housed in “unlicensed or secure facilities.” August 21, 2015 Order [Dkt. #189] at
 12
       14. See also Order Denying Defendants’ Ex Parte Application For Limited Relief
 13
 14    From Settlement Agreement (“July 9, 2018 Order”) [Dkt. #455] at 3 (“the Flores
 15    Agreement has required accompanied minors to be placed in licensed facilities
 16
       since 1997.”)
 17
 18
 19
       13 “Q. Are you aware of any written instructions issued to ICE officers, and, if so,
 20    please identify those instructions, that explains to them what the term escape risk
       means in the Flores settlement? A. No. Q. Are you aware of any in-person training
 21
       about that? A. About defining terms from Flores? Q. Explaining to the officers
 22    what the term escape risk means under the Flores settlement, are you aware of any
       in-person training on that question? A. No. Q. Do you recall what the -- or how the
 23
       term escape risk is -- is defined in -- in the Flores settlement in general? A. No.”
 24    Ex. 9, Miller Dep. 101:22-102:19 [Dkt. #350].
       14 “[U]nder both the Agreement and 8 C.F.R. section 212.5(b), part of the
 25
       release/parole analysis includes a case-by-case assessment of whether the minor
 26    poses a flight risk. Compare Agreement ¶ 14 (whether detention is required to
       secure timely appearance before the immigration court), with 8 C.F.R. § 212.5(b)
 27
       (whether there is a “risk of absconding”).” June 27, 2017 Order [Dkt. # 363] at 23-
 28    24.


       PLAINTIFFS’ RESPONSE TO THIRD          10
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 1           Yet, the Family Residential Center at Dilley (the largest of Defendants’ three
 2
       family detention facilities) remains an unlicensed and secure facility in violation of
 3
 4     the Agreement, as confirmed in the deposition of Phillip Miller. 15 The Karnes

 5     license has also been blocked by a Texas State Court.16
 6
             The largest facilty operated by Defendants for unaccompanied children
 7
 8     called Casa Padre (operated by Southwest Key) currently holds close to 1,000 class

 9     members for weeks or months and is a secure facility in violation of Paragraph 6
 10
       (licensed group home shall be “non-secure”). See Declaration of Peter Schey,
 11
 12    Exhibit 1 filed herewith at ¶ 2.

 13          The Court should require that the Special Monitor work with Defendants to
 14
       determine where licensed facilities may be established in states other than Texas
 15
 16    where it appears Defendants’ family detention facilities do not qualify for state-
 17    issued licenses.
 18
       6.    Class members have been and are being denied the protections of the
 19          Agreement by Defendants separating them from their decision-making
 20          parents
 21
 22
 23    15
          Ex. 9, Miller Dep. [Dkt. # 350] 103:15-17 (“Q. And so at the present time the
 24    Dilley facility is not licensed; is that correct? A. Yes.”). See also Valentin de la
       Garza, supervisor at Dilley, further demonstrates this point in his deposition: “Q.
 25
       To your knowledge, is ICE currently attempting to obtain a license for Dilley, a
 26    license to hold children? A. No, sir. We're not.” Ex. 7, De la Garza Dep. [Dkt. #
       287-2] 47: 12-15.
 27    16
          Dec. of Robert Doggett, Ex. 26 [Dkt. # 287-5] ¶ 4 (referencing Grassroots
 28    Leadership, Inc. v. Texas DFPS, No. D-1-GN-15-004336).


       PLAINTIFFS’ RESPONSE TO THIRD           11
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 1              Following the Trump Administration’s Zero Tolerance policy, hundreds or
 2
       over a thousand separated class members as of this date have been placed in a
 3
 4     precarious position in which their parents’ decision-making authority has been

 5     blocked by the parent-class member separation. Separated parents are no longer in
 6
       a position to determine whether their children should exercise or opt out of their
 7
 8     rights provided for under the Agreement. 17 Separated class members have no one,

 9     other than the Office of Refugee Resettlement, to make those decisions for him or
 10
       her.18
 11
 12             For class members who Defendants separated from their parents with no

 13    plan for reunification and no plan to maintain parental decision-making during the
 14
 15    17 Per policy instruction, unaccompanied children are “provided the opportunity to
 16    make a minimum of two telephone calls per week (10 minutes each) to family
       members and/or sponsors …” Children Entering the United States
 17
       Unaccompanied: Section 3.3.10 Telephone Calls, Visitation, and Mail (Jan. 28,
 18    2015). Interviews with separated class members indicate many are unable to
       contact their parents because they do not know where they are detained, and others
 19
       are permitted only one 10 minute telephone call a week. Declaration of Peter
 20    Schey, Ex. 1 ¶ 3.
       18. Under Paragraph 32, class counsel has the right to interview class members.
 21
       Class counsel seek and get the consent of parents at a family detention facilities
 22    prior to interviewing class member children. By separating class members from
       their parents without a plan to maintain parental decision-making, Defendants
 23
       made class members’ parents unavailable to class counsel to seek consent to
 24    interview their children. Despite numerous requests over the past two weeks to
       meet and confer and for the names and locations of separated class members’
 25
       parents, Defendants have declined, making obtaining consent for class member
 26    interviews under Paragraph 32 almost impossible. Because of the urgency of the
       situation caused by the separations, and under objection, class counsel have
 27
       commenced interviews with separated class members. See Declaration of Class
 28    Counsel Peter Schey, Ex. 1 ¶ 4.


       PLAINTIFFS’ RESPONSE TO THIRD          12
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 1     separation, Defendants effectively suspended operation of the Agreement for
 2
       separated class members. This suspension was and continues to be a material
 3
 4     breach of the Agreement.19

 5           As of the date of this submission, class counsel are interviewing separated
 6
       class members and assessing whether interim relief may be sought to remedy class
 7
 8     members’ isolation from decision-making parents. In the event interim relief is not

 9     sought, Plaintiffs seek an Order following the Status Conference suspending
 10
       removals of parents, reasserting parental decision-making over class members, and
 11
 12    requiring Defendants to identify to class counsel the identities and locations of

 13    separated parents under the same confidentiality terms associated with Defendants’
 14
       monthly reports to class counsel of all detained class members nationwide
 15
 16    (includes names, A numbers, locations, etc.). Agreement ¶ 28A. See also August
 17    21, 2015 Order 2015 [Dkt. # 189] at 15 (requires that Paragraph 28A reports be
 18
       provided monthly to class counsel).
 19
 20    7.    Class members are provided inadequate and edible food at Border
             Patrol Stations
 21
 22
 23
 24
 25
 26    19 The unilateral unannounced separation of class members, including children as
       young as three years old, also is a material breach because the Agreement requires
 27
       that class members be treated with “dignity, respect and special concern for their
 28    particular vulnerability as minors.” Agreement at ¶ 11. The psychological harm to
       class members of the separation is profound and undeniable.

       PLAINTIFFS’ RESPONSE TO THIRD           13
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1                                       CERTIFICATE OF SERVICE
2             I, Peter Schey, declare and say as follows:
3
              I am over the age of eighteen years of age and am a party to this action. I am
4

5       employed in the County of Los Angeles, State of California. My business address is
6
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
7

8             On July 16, 2018, I electronically filed the following document(s):

9       PLAINTIFFS’ CORRECTED MEMORANDUM RE STATUS CONFERENCE AND
10      RESPONSE TO THIRD GOVERNMENT MONITORS’ REPORTS [REDACTED
        VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL]
11

12      with the United States District Court, Central District of California by using the

13      CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
        served by the CM/ECF system.
15

16            On July 16, 2018, I also served true and correct copies of the above documents

17      to the interested parties by sending copies to the email address of Defendants’ Counsel,
18
        Sarah Fabian.
19

20                                                      /s/Peter Schey
                                                        Attorney for Plaintiffs
21

22

23

24

25

26

27
28

        PLAINTIFFS’ RESPONSE TO SECOND              1
        JUVENILE COORDINATOR REPORTS                             CV 85-4544-DMG (AGRX)
